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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DSITRICT OF DELAWARE

x Chapter 11
In re: Case no 17-12560(BLS)

 

WOODBRIDGE GROUP OF COMPANIES, LLC etal.

Remaining Debtors ,

 

MICHAEL GOLDBERG, in his capacity as
Liquidating Trustees of the WOODBRIDGE
LIQUIDATUON TRUST ,
Plaintiff,
Vs.

NAA INSURANCE AGENCY GROUP, CORP.

 

DEFENDANT’S OPPOSITION TO PLAINTFF’S MOTION FOR DEFAULT

Defendant NAA INSURANCE AGENCY, CORP, by the undersigned, files this
- opposition to the Plaintiff's Motion for Default Judgment in this action.

1. At the outset | apologize for the late response and ask that this motion be
adjourned to permit us sufficient time to retain counsel to formally oppose this motion.
Further in that connection | note that we only just received this paperwork, as we have
been away from the office in celebration of our Jewish Passover Holiday during most of
operative period for this Motion.

2. As for a matter of substance, not having heard from anyone for over the last
year from when our attorneys sent their prior emails, copies of which are attached
hereto and made part hereof as Exhibit ‘A’ , we were under the impression that the

said emails constituted our written answer, objection and denial to the claims made

against our company by Plaintiff, and that if there was any issue in that regard that we

 

 
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would be permitted at least 30 days prior notice to retain counsel and provide a more
formal defense. Up until now we had no further communication from Plaintiff regarding
this matter.

3. There is strong merit to our defense and opposition and we will likely succeed
on the merits of this case.. Among other things, we believed in good faith that the
earlier email exchange on our behalf would have been entered into Plaintiff's and the
court's records as some form of appearance and general denial.

4. Of material significance and in support of our position, any claims or
demands made against our company are fully denied as all of the particular transactions
in question relating to our company were duly authorized and consented to by prior
courts all as evidence by prior court orders.

5. Having secured court orders prior to our company entering into the particular
transactions in question on its face there is a clear demonstration and evidence that
there is nothing here to support any claim of improper business dealings whether by
claim of fraudulent intent or otherwise.

6. | have read this Opposition and know the contents hereof. The same is true
to my knowledge, except those matters therein which are stated to be alleged on
information and belief, and as to those matters we believe them to be true. This
Affirmation is made by me instead of a sworn statement as our religious observances
prevent us from swearing to any document.

WHEREFORE Defendant NAA INSURANCE AGENCY, CORP hereby requests

that Plaintiffs Motion for a Default be denied in its entirety, at this time.

  
 

Cesena
aé6b Adler , President

Spring Valley, New York
April 6, 2021

 

 
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Exhibit “A”

 

 
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-----Original Message-----

To: acaine@pszjlaw.com <acaine@pszjlaw.com>

Sent: Wed, Jul 15, 2020 7:21 am

Subject: Fwd: In Re Woodbrige Group of Companies - USBC , District of Delaware / Case no 17-12560 (KJC)

Dear Mr. Caine:

| write without prejudice and with reservation of rights. My client sent me some paperwork they
received via mail from your office advising that a default judgment proceeding had been
commenced against Adler's Insurance dba NAA Insurance Agency in the

above referenced bankruptcy proceeding..

It was thought that my earlier email exchange would have been entered into your and the court's
records as some form of appearance and general denial , to the effect that any claims or demands
made against my client were fully denied as all of the particular transactions in question relating to
my client were duly authorized and consented as evidence by prior court orders. Respectfully it
seems to me to be dispositive , that by my client having secured court orders prior to entering into
the particular transactions in question on its face there is a clear demonstration and evidence that
there is nothing here to support any claim of improper business dealings whether

by fraudulent intent or otherwise.

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Cas0d 2 089 Be SUI DE oF HSA A/F] Delay &ajegp 77-12560 (KIC)
Notwithstanding, as an accommodation my client is willing to pay
Five Thousand ($5,000.00) dollars as a lump sum in full and final settlement of this matter. And in
the event that the parties are not able to resolve this matter at this time then | am writing to request
a 30 day extension of time to answer or move in response to this proceeding so that my client has
the opportunity to retain California counsel in defense hereof.

| thank you in advance for your due consideration and approval hereof.

Stan

STANLEY A. SCHUTZMAN, Esq.

Stanley A. Schutzman, P.C.

Email: schutzmanlaw@aol.com
Assistant: Diana E. Frailey
Email: fraileyd@aol.com

Phone: (845) 600 - 8LAW (8529)

Facsimile: (845) 600 - 1LAW (1529)

Rockland County Office: Dutchess County Office:
61 S. Main Street P.O. Box 969
New City, N.Y. 10956 Poughkeepsie, N.Y. 12602

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From: schutzmanlaw@aol.com [mailto:schutzmanlaw@aol,.com]
Sent: Friday, July 26, 2019 3:13 AM

To: Andrew Caine; Beth D. Dassa
Cc: jacob@adlersinsurance.com
Subject: In Re Woodbrige Group of Companies - USBC , District of Delaware / Case no 17-12560 (KJC)

Dear Mr. Caine:

I'm writing without prejudice further to my voice message. | write to confirm that | have been retained by
Adlers Insurance Company with reference to your letter of July 12, 2019 on behalf of the Liquidating Trustee
in respect of the above referenced matter, another copy of which is attached for your ease of reference..

My client appreciates that the :Liquidating Trustee is interested in engaging in a discussion aimed at
resolving the Trust's claim to recover from my client the sum of $77,581.11 alleged as "Avoidable Amount"
since 2012, and to thereby avoid attendant time and expense of litigation.

At the outset | mentioned my understanding that the records should show that my client's business dealings
with Woodbridge was pursuant to court order and certainly without any fraudulent intent on my client's part,
and that in order for my client to properly review and evaluate the Trust's Avoidable Amount claim request is
hereby made that your office provide me with the details thereof separately broken down by designated
assignee, annuity issuer, date, amount, etc.; this so that a detailed review can be undertaken by my client
with a view towards providing a prompt and meaningful response.

Thanks. Stan

STANLEY A. SCHUTZMAN, Esq.
Stanley A. Schutzman, P.C.
Email: schutzmanlaw@aol.com

Assistant: Diana E. Frailey

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Cased 2 BOSS OBE Sour Ge DB les HSECOBMOPFY X Pelameny Sageap 77-12560 (KIC)

Email: fraileyd@aol.com
Phone: (845) 600 - 8LAW (8529)

Facsimile: (845) 600 - 1LAW (1529)

Rockland County Office: Dutchess County Office:
61 S. Main Street P.O. Box 969
New City, N.Y. 10956 Poughkeepsie, N.Y. 12602

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